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                               Defendant's motion to dismiss is DENIED with prejudice to renewal.
 Criston E. Cicala             The Court directs Defendant's attention to Individual Rule III.C.2,
 CALHOUN BHELLA & SECHREST
 5 Columbus Circle, 11th Floor which requires a movant to file a pre-motion letter with the Court, in
 New York, NY 10019            the manner provided in Individual Rule III.A.1, prior to filing a motion
 Telephone: 646-819-0401       to dismiss.
 Facsimile: 646-819-0409
 CCicala@cbsattorneys.com      Dated: November 6, 2020
                                      New York, New York

                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


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                                                  )
                                                  )
                                                  )
THE BROWNING SCHOOL,                              )
                                                  )
             Plaintiff,                           )   CASE NO. 1:20-cv-09084
                                                  )
                                                  )
      v.                                          )   DOCUMENT ELECTRONICALLY
                                                  )   FILED VIA CM/ECF
TATE HALLFORD and CRISTON CICALA,                 )
                                                  )
             Defendants.                          )
                                                  )
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                                                  )
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                 NOTICE OF DEFENDANT’S MOTION TO DISMISS
           PLAINTIFF’S COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)




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       PLEASE TAKE NOTICE that Defendant Criston Cicala (“Mr. Cicala” or

“Defendant”), proceeding pro se, hereby moves this Court for an Order dismissing the

Complaint of Plaintiff The Browning School (“Browning” or “Defendant”) for failure to state a

claim upon which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(6). In accordance with

Section III.C of this Court’s Individual Practices, Defendant hereby certifies that this motion is

made following the conference of Defendant and Plaintiff’s counsel, which took place via

electronic correspondence on November 2, 3 and 4th in 2020. Plaintiff declined the opportunity

to amend its deficient pleading. Accordingly, and for the reasons set forth in the accompanying

Memorandum of Law in support of this motion, Defendant moves this Court for an order

dismissing Plaintiff’s Complaint in its entirety with prejudice.




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                                 Respectfully submitted,

                                 November 5, 2020

                                 /s/ Criston E. Cicala
                                 Pro Se

                                 Criston E. Cicala
                                 CALHOUN BHELLA & SECHREST
                                 5 Columbus Circle, 11th Floor
                                 New York, NY 10019
                                 Telephone: 646-819-0401
                                 Facsimile: 646-819-0409
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